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                                               Showfields, Inc
                                                  Balance Sheet
                                                As of October 31, 2023


                                                                                                            TOTAL
ASSETS
 Current Assets
 Bank Accounts
  100016 LB-Checking INC (7800)                                                                          17,567.69
  100017 SVB Checking Account Primary (4663)                                                                 23.37
  100020 Mesh Payments                                                                                   -69,222.45
 Total Bank Accounts                                                                                   $ -51,631.39
 Other Current Assets
  120001 Prepaid Expenses                                                                                93,351.64
  130001 Founder's Loan                                                                                  35,500.00
  130002 Exchange                                                                                              0.00
  220031 Intercompany - Investment                                                                      -475,640.41
  Deposits                                                                                                     0.00
 Total Other Current Assets                                                                           $ -346,788.77
 Total Current Assets                                                                                 $ -398,420.16
 Fixed Assets
 210002 Development cost- Hard                                                                         2,207,026.08
 210005 Fixed Asset Computers&Monitors                                                                   22,900.16
 211001 Fixed Asset Furniture                                                                              1,685.03
 215001 Accumulated Amortization                                                                          -3,340.28
 215002 Accumulated Depreciation                                                                         -10,934.17
 215003 Leasehold Improvements                                                                           40,000.00
 215004 Intangible assets                                                                                14,150.00
 215005 Other fixed assets                                                                                 3,058.79
 Total Fixed Assets                                                                                   $2,274,545.61
 Other Assets
 220002 Intercompany-NY2                                                                                -661,432.41
 220003 Intercompany-MB                                                                                 -744,308.34
  220025 Ops Payroll                                                                                    297,456.47
  220029 Development                                                                                    117,803.95
 Total 220003 Intercompany-MB                                                                           -329,047.92
 220005 Intercompany-NY1                                                                              -5,386,313.96
  220008 Credit Cards                                                                                   -225,631.72
  220009 Development                                                                                   1,177,622.76
  220010 G&A                                                                                              -5,003.60
  220011 LoanNY1                                                                                       1,308,150.71
  220012 Marketing                                                                                      -276,162.89
  220013 Opex                                                                                           495,683.80




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                                                 Showfields, Inc
                                                       Balance Sheet
                                                     As of October 31, 2023


                                                                                                                TOTAL
  220014 Payroll                                                                                           1,869,437.54
   220015 OPS Reimbursement pay                                                                                  99.81
   220016 OPS Employer Paid Contributions and Fees                                                           66,650.92
   220017 OPS Employer Paid Taxes                                                                           106,572.94
   220018 OPS Member Paid Deductions                                                                          -5,325.92
   220019 OPS Payroll                                                                                      1,402,166.11
   220020 OPS Supplemental Pay                                                                               25,171.29
  Total 220014 Payroll                                                                                     3,464,772.69
  220021 Production                                                                                         386,623.28
  220022 R&D                                                                                                 -40,000.00
  220023 TI                                                                                                 -445,950.45
  220024 Transfers                                                                                          -800,000.00
 Total 220005 Intercompany-NY1                                                                              -346,209.38
 220006 Intercompany DC                                                                                     -464,764.10
 220007 Intercompany FL1                                                                                  -1,415,516.74
  220026 Loan                                                                                              1,887,031.83
  220027 Ops Payroll                                                                                       1,461,903.65
 Total 220007 Intercompany FL1                                                                             1,933,418.74
 220028 Security Deposits                                                                                      5,495.00
 Total Other Assets                                                                                        $137,459.93
TOTAL ASSETS                                                                                              $2,013,585.38

LIABILITIES AND EQUITY
 Liabilities
 Current Liabilities
  Accounts Payable
   300003 Accounts Payable                                                                                  388,199.19
  Total Accounts Payable                                                                                   $388,199.19
  Credit Cards
   0298-G&A-Tal                                                                                                    0.00
   100018 SVB CC INC (3385)                                                                                  93,375.89
   100019 SVB CC INC MARKETING (8914)                                                                              0.00
   Amir Zwickel *6872                                                                                              0.00
   J ZALAZNICK *9021                                                                                               0.00
   Jan Milberg *0206                                                                                               0.00
   Jon Zalaznick *4239                                                                                             0.00
   Mastercard Business Card 1562                                                                                   0.00
   SHARIT MIRIAM KASSAB*5612                                                                                       0.00
   SVP-Yossi Shemesh Card *1743                                                                                    0.00




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                                               Showfields, Inc
                                                  Balance Sheet
                                                As of October 31, 2023


                                                                                                              TOTAL
  Total Credit Cards                                                                                      $93,375.89
  Other Current Liabilities
   300014 Accrued Expenses                                                                                151,914.72
   310001 Convertible Loan                                                                                      0.00
   310002 Pipe                                                                                          1,400,721.05
   310003 Short term Loan                                                                                 638,500.00
   Membership Deposit                                                                                           0.00
  Total Other Current Liabilities                                                                      $2,191,135.77
 Total Current Liabilities                                                                             $2,672,710.85
 Long-Term Liabilities
  350003 PPP Loan                                                                                               0.00
  350004 SBA Treasury Loan                                                                                482,402.00
  EID grant                                                                                                     0.00
 Total Long-Term Liabilities                                                                             $482,402.00
 Total Liabilities                                                                                     $3,155,112.85
 Equity
 410001 Common Stock - Par Value                                                                              129.75
 410002 Preferred Stock- Par Value                                                                            261.00
 420001 Investment Capital                                                                             24,969,779.74
  420002 Deferred Expenses                                                                                -27,500.00
  420003 Stock Options                                                                                    172,533.00
 Total 420001 Investment Capital                                                                       25,114,812.74
 499999 Retained Earnings                                                                             -21,007,644.74
 Net Income                                                                                            -5,249,086.22
 Total Equity                                                                                         $ -1,141,527.47
TOTAL LIABILITIES AND EQUITY                                                                           $2,013,585.38




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                                             EXHIBIT B




10. Because the DIP accounts were just opened, we needed to have other accounts open to operate
business.
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                                             EXHIBIT A



3. Will be current before EOM.



5. Because the DIP accounts were opened just now and it takes a few weeks to move opera ng accounts

given the current payment system.
